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UNITED STATES DISTRICT COURT
                                                                                      1/30/2024
SOUTHERN DISTRICT OF NEW YORK

 United States of America

                 v.                                                        24 Cr. 19 (AT)

 KARREM NASR,                                                             Protective Order
  a/k/a “Ghareeb Al-Muhajir,”

                            Defendant.



         Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court hereby

finds and orders as follows:

                                            Categories

         1. Disclosure Material. The Government will make disclosure to the defendant of

documents, objects and information, including electronically stored information (“ESI”), pursuant

to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500, and the Government’s general

obligation to produce exculpatory and impeachment material in criminal cases, all of which will

be referred to herein as “Disclosure Material.” The Government’s Disclosure Material may include

material that (i) affects the privacy and confidentiality of individuals and entities; (ii) would

impede, if prematurely disclosed, the Government’s ongoing investigation of uncharged

individuals; (iii) would risk prejudicial pretrial publicity if publicly disseminated; (iv) may be

produced with more limited redactions than would otherwise be necessary; and (v) that is not

authorized to be disclosed to the public or disclosed beyond that which is necessary for the defense

of this criminal case.




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         2. Sealed Material. Certain of the Government’s Disclosure Material, referred to herein

as “Sealed Material,” contains information that identifies, or could lead to the identification of,

witnesses who may be subject to intimidation or obstruction, and whose lives, persons, and

property, as well as the lives, persons and property of loved ones, will be subject to risk of harm

absent the protective considerations set forth herein.

         3. Attorney’s Possession Only (“APO”) Material. Certain materials in this case raise a

particular risk of affecting the privacy or safety of victims or witnesses, or the confidentiality of

ongoing investigations. Disclosure Material produced by the Government to the defendant or his

counsel that is either (1) designated in whole or in part as “Attorney’s Possession Only” by the

Government in emails or communications to defense counsel, or (2) that includes a Bates or other

label stating “Attorney’s Possession Only” or “APO” shall be deemed “APO Material.” Any

material designated as APO Material shall also be deemed Sealed Material.

         4. Attorney’s Eyes Only (“AEO”) Material. Certain materials in this case raise a more

significant risk of affecting the privacy or safety of victims or witnesses, or the confidentiality of

ongoing investigations. Disclosure Material produced by the Government to the defendant or his

counsel that is either (1) designated in whole or in part as “Attorney’s Eyes Only” by the

Government in emails or communications to defense counsel, or (2) that includes a Bates or other

label stating “Attorney’s Eyes Only” or “AEO” shall be deemed “AEO Material.” Any material

designated as AEO Material shall also be deemed Sealed Material.

         NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

                                    Disclosure and Treatment

         5. Disclosure Material shall not be disclosed by the defendant or defense counsel,

including any successor counsel (“the defense”) other than as set forth herein, and shall be used




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by the defense solely for purposes of defending this action. The defense shall not post any

Disclosure Material on any Internet site or network site, including any social media site such as

Facebook or Twitter, to which persons other than the parties hereto have access, and shall not

disclose any Disclosure Material to the media.

         6. Sealed Material pertinent to any motion before the Court should initially be filed under

seal, absent consent of the Government or Order of the Court, and may be disclosed by defense

counsel to:

                a. The defendant;

                b. Personnel for whose conduct defense counsel is responsible, i.e., personnel

employed by or retained by counsel, as needed for purposes of defending this action; and

                c. Prospective witnesses for purposes of defending this action.

         7. APO Material received by defense counsel shall be maintained in a safe and secure

manner by defense counsel and any personnel for whose conduct defense counsel is responsible;

shall not be possessed by the defendant, except in the presence of the defendant’s counsel and any

personnel for whose conduct defense counsel is responsible; and shall not be disclosed in any form

by the defendant, his counsel, or any personnel for whose conduct defense counsel is responsible

except as set forth herein.

         8. AEO Material received by defense counsel shall be maintained on an attorney’s eyes

only basis, and the defense shall not share any AEO Material or the content of the AEO Material

with any other persons, including the defendant, except for any personnel for whose conduct

defense counsel is responsible.




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                                         Other Provisions

         9. This Order does not prevent the disclosure of any Disclosure Material in any hearing

or trial held in this action, or to any judge or magistrate judge, for purposes of this action. All

filings should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1 and the above

provisions.

         10. The Government’s designation of material will be controlling absent contrary order of

the Court. The parties shall meet and confer regarding any dispute over such designations, after

which the defense may seek de-designation by the Court. The Government may authorize, in

writing, disclosure of Disclosure Material beyond that otherwise permitted by this Order without

further Order of this Court.

         11. The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense has disclosed Disclosure Material. All such persons shall

be subject to the terms of this Order. Defense counsel shall maintain a record of what information

has been disclosed to which such persons.

         12. Except for Disclosure Material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all Disclosure Material,

including any ESI, within 30 days of the expiration of the period for direct appeal from any verdict

in the above-captioned case; the period of direct appeal from any order dismissing any of the

charges in the above-captioned case; and the granting of any motion made on behalf of the

Government dismissing any charges in the above-captioned case, whichever date is later, subject

to defense counsel’s obligation to retain client files under the Rules of Professional Conduct. If

Disclosure Material is provided to any personnel for whose conduct defense counsel is responsible




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or prospective witnesses, defense counsel shall make reasonable efforts to seek the return or

destruction of such materials.


AGREED AND CONSENTED TO:

    DAMIAN WILLIAMS
    United States Attorney


by: _____________________________                           1/30/2024
                                                     Date: _____________________
    Camille Fletcher, Esq.
    Kimberly Ravener, Esq.
    Assistant United States Attorneys


    ___________________________                            January 29, 2024
                                                     Date: _____________________
    Neil Kelly, Esq.
    Andrew Dalack, Esq.
    Counsel for Karrem Nasr




SO ORDERED.

Dated: New York, New York
       January 30, 2024




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